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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

RICHARD LEE SMITH, JR., individually and on
behalf of persons similarly situated,
                                                    Case No. 3:18-CV-01651-AR
               Plaintiff,

       v.                                           JOINT STATUS REPORT

MATT MARTORELLO and EVENTIDE
CREDIT ACQUISITIONS, LLC,

               Defendants.




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                        CERTIFICATE OF COMPLIANCE WITH LR 7-1

       Pursuant to LR 7-1, counsel for Plaintiff certifies that Defendants stipulate to this Joint Status

Report and authorized Plaintiff’s counsel to file this Report on all Parties’ behalf.

                                          STATUS REPORT

       In accordance with the Court’s January 19, 2024 Order (ECF No. 244), Plaintiff Richard L.

Smith (“Smith”) and Defendants Matt Martorello and Eventide Credit Acquisitions, LLC (“Eventide”;

collectively, “the Parties”) jointly submit this report regarding recent developments.

       In conjunction with litigants in Virginia and Massachusetts (these plaintiffs, the Parties, and

other third parties to the settlement named in the agreement are collectively referenced as “the

Settlement Parties”), the Settlement Parties have made significant progress towards resolving the

broader litigation and have executed a stipulation and settlement agreement which, upon the happening

of certain contingencies set forth in the stipulation and settlement agreement, could resolve the

underlying litigation. The Settlement Parties plan to present the proposed settlement to the U.S.

District Court for the Eastern District of Virginia for preliminary approval on approximately June 3,

2024, and if approved and proper notice is thereafter given to the class, the final fairness hearing will

take place during approximately the week of October 28, 2024. If the Settlement Parties cannot

complete the substantive and/or procedural steps for the settlement, the agreement would be voidable,

and the Settlement Parties and litigation would be returned to where they are now.

       Under the terms of the settlement, the Parties have agreed to stay this litigation, subject to

Court approval, while the Settlement Parties work through the dynamics of the stipulation and

settlement agreement. Given that the case is already stayed because of Eventide’s bankruptcy, the

Parties hereby request that the stay remain in place and that the Parties provide another status report



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regarding developments with the settlement on or before June 20, 2024.



       Dated: March 19, 2024

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                                                        Eventide Credit Acquisitions, LLC




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                                  CERTIFICATE OF SERVICE

        I certify that on March 19, 2024, I served a true and correct copy of the foregoing document
on the following counsel of record via the Court’s CM-ECF electronic notice system:



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 and Eventide Credit Acquisitions, LLC




                                                       /s/ John B. Scofield, Jr.
                                                      John B. Scofield, Jr.




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